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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 20-mj-04177-OTAZO-REYES

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 MARK-SIMON LOUMA,

      Defendant.
 ______________________________/

                                   DETENTION ORDER

        Pursuant to 18 U.S.C. § 3142(f), on January 11, 2021, a hearing was held to

 determine whether defendant MARK-SIMON LOUMA should be detained prior to trial.

 Having considered the factors enumerated in 18 U.S.C. § 3142(g), this Court finds that

 no condition or combination of conditions will reasonably assure the appearance of this

 defendant as required. Therefore, it is hereby ordered that the defendant

 MARK-SIMON LOUMA be detained prior to trial and until the conclusion thereof.

        In accordance with the provisions of Title 18, United States Code, Section

 3142(i), the Court hereby makes the following findings of fact and statement of reasons

 for the detention:

        1. The defendant is charged by criminal complaint in the Southern District of

 Florida with possession of 15 or more unauthorized access devices in violation of 18

 U.S.C. § 1029(a)(3), aggravated identity theft in violation of 18 U.S.C. § 1028A(a)(1)

 and conspiracy to possess 15 or more access devices with the intent to defraud in

 violation of 18 U.S.C. § 1029(a)(2).
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        2. The weight of the evidence against the defendant is substantial. The

 government has proffered that on or about July 8, 2020, law enforcement officers

 executed a search warrant at a residence where the defendant had been residing.

 During the execution of the search warrant, law enforcement officers recovered two

 cellular telephones containing personally identifiable information (PII) belonging to other

 individuals. The defendant admitted that the two cellular telephones were his. Law

 enforcement officers contacted some of the victims who told law enforcement they did

 not authorize the defendant to possess their PII. In total, law enforcement officers

 connected the defendant to fraudulently possessing over 100 pieces of PII.

        Law enforcement officers are also investigating the defendant for a gang-related

 homicide.

        3. The pertinent history and characteristics of the defendant support pretrial

 detention. The defendant was born on June 3, 1997 in Miami, Florida. The defendant

 has an extensive criminal record including 18 arrests in nine years. The defendant was

 on state court probation for strongarm robbery at the time of the instant offense and he

 allegedly violated his probation in May 2020 and July 2020. The defendant allegedly

 violated probation by not residing at the address provided to his probation officer at the

 time of the instant offense and law enforcement officers found photographs and video

 of the defendant with firearms while on probation. The defendant has admitted these

 firearms were real firearms. The defendant is facing approximately three to four years’

 imprisonment if convicted of the instant offense. The defendant’s mother resides in

 Haiti. Title 18, United States Code, Section 3142(g)(3)(A).

        4. The Court specifically finds, that there are no conditions or combination of
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 conditions which reasonably will assure the defendant's appearance as required. The

 defendant is facing approximately three to four years of imprisonment if convicted of the

 instant offense and committed the instant offense while on probation, the defendant is

 the subject of a homicide investigation and the defendant has family in Haiti. These

 facts lead the Court to believe that the defendant cannot follow court orders and would

 be a flight risk if released on bond. Based upon the above findings of fact, which were

 supported by a preponderance of the evidence, the Court has concluded that this

 defendant presents a risk of flight.

        The Court hereby directs:

               (a) That the defendant be committed to the custody of the Attorney

 General for confinement in a corrections facility separate, to the extent practical, from

 persons awaiting or serving sentences or being held in custody pending appeal;

               (b) That the defendant be afforded reasonable opportunity for private

 consultation with counsel; and

               (c) That, on order of a court of the United States or on request of an

 attorney for the Government, the person in charge of the corrections facility in which the

 defendant is confined deliver the defendant to a United States Marshal for the purpose

 of an appearance in connection with a court proceeding.

        DONE AND ORDERED at Miami, Florida, this the 11th day of January, 2021.




                             ______________________________________
                             JOHN J. O'SULLIVAN
                             CHIEF UNITED STATES MAGISTRATE JUDGE
